       Case 1:24-cv-01701-ACR            Document 58        Filed 05/19/25      Page 1 of 7




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                    )
ESTATE OF ASHLI BABBITT and         )
AARON BABBITT, individually and on  )
behalf of the ESTATE OF ASHLI       )
BABBITT,                            )
                    Plaintiffs,     )
                                    )
       v.                           )                 Case No. 1:24cv1701-ACR
                                    )
UNITED STATES OF AMERICA,           )
                                    )
                  Defendant.        )
____________________________________)

                                   JOINT STATUS REPORT

       Pursuant to the Court’s May 12, 2025, Minute Order, Plaintiffs Estate of Ashli Babbitt and

Aaron Babbitt, individually and on behalf of the Estate of Ashli Babbitt (“Plaintiffs”), Defendant

the United States of America (“Defendant” and together with Plaintiffs, the “Parties”), and Terrell

N. Roberts, III hereby submit this Joint Status Report. Counsel conferred via telephone on May

15, 2025, and May 16, 2025, to discuss whether agreement could be reached on a set-aside amount

as discussed at the Court’s May 12, 2025, hearing. Parties and Mr. Roberts set forth their

respective positions below.

Plaintiffs

       Plaintiffs Aaron Babbitt and the Estate of Ashli Babbitt offered to enter into a written

agreement with Mr. Roberts providing him with the following protection of his inchoate charging

lien in exchange for withdrawing his efforts to intervene in this lawsuit: (a) a set-aside of twenty-

five percent (25%) in the IOLTA trust account maintained by Judicial Watch; and (b) an agreement

to make prompt payment to Mr. Roberts directly from the trust account after receipt of the

Attorney/Client Arbitration Board’s final decision regarding what amount, if any, Mr. Roberts is
       Case 1:24-cv-01701-ACR            Document 58        Filed 05/19/25      Page 2 of 7




to be paid from the settlement proceeds. Plaintiffs note that the 25% set-aside represents the total

amount that all attorneys representing an FTCA plaintiff can recover, and that the likelihood of

Mr. Roberts recovering such a fee is minimal, at best, given his admittedly brief and limited

involvement in the legal matter. Therefore, the set-aside amount is significantly greater than a

likely award, which protects Mr. Roberts for an inability to recover an award. Mr. Roberts rejected

Plaintiffs’ offer. The Court ordered the parties to file this report addressing whether they have

agreed on a set-aside amount as discussed at the May 12, 2025 hearing. During the hearing the

Court strongly urged Plaintiffs and Mr. Roberts in particular to agree to a 25% set aside. Plaintiffs

now report that they have agreed to the 25% set aside. The Court should accept Plaintiffs’

agreement to set aside 25% of the settlement amount as full and adequate protection for Mr.

Roberts.

       Plaintiffs further note that this Court’s May 12, 2025, Minute Order states in pertinent part:

               For the reasons stated on the record at today’s hearing, the Court
               GRANTS in part and DENIES in part Mr. Roberts’ [47] Motion to
               Intervene to Enforce Charging Lien. The Court GRANTS Mr.
               Roberts’ request to intervene for the limited purpose of being kept
               aware of ongoing settlement discussions between the parties. The
               parties must additionally notify Mr. Roberts within 24 hours of any
               final settlement agreement being reached. But the Court DENIES,
               without prejudice, Mr. Roberts’ request to establish a charging lien
               at this time.

Docket Entry entered and filed on 5/12/2025 (emphasis original) (the “Minute Order”).

Plaintiffs are concerned by Mr. Roberts’ role in this case, which is frustrating completion of the

settlement by precluding an essential term. One possible method to facilitate finalizing the

settlement is for the Court to amend the Minute Order by denying Mr. Roberts intervention for

the limited purpose of receiving notice from the Parties and instead order the Parties to inform

Mr. Roberts of settlement progress by notifying Mr. Roberts in writing: (a) within 24 hours after

the Parties finalize the terms and execute the settlement agreement; (b) within two business days
                                                 2
          Case 1:24-cv-01701-ACR         Document 58          Filed 05/19/25     Page 3 of 7




counsel for the United States submits a request to the U.S. Treasury for the settlement amount;

and (c) within two business days after the settlement funds are deposited into Plaintiffs’

counsel’s IOLTA account. The slight modification requested by the Parties is not insignificant

as it avoids unnecessary, inefficient, and costly litigation of sovereign immunity, jurisdiction,

and other issues non-germane to this FTCA action and, most importantly, will expedite the

settlement and dismissal of this lawsuit and payment of the settlement amount. If this

modification were to be made, the Parties could finalize settlement terms and conclude this

matter.

Terrell N. Roberts, III

          1.    Intervenor offered to agree to a 25% set off if the amount was placed in an

attorney’s IOLTA account and that the plaintiffs acknowledged intervenor’s lien as to those funds.

Plaintiffs did not respond.

          2.   If plaintiffs file a motion to compel arbitration, intervenor will oppose it on

arbitrability grounds, including but not limited to the fact that Attorney/Client Arbitration Board

(“ACAB”) lacks authority to issue a charging lien, which is integral to his claim for attorney fees

and a well-established and commonly used form of equitable relief granted in this jurisdiction for

the protection of a lawyer’s fee. In addition, there is an absence of an enforceable agreement and

valid constitutional and jurisdictional objections to arbitration.         Intervenor welcomes an

opportunity to present such points at the appropriate time.

          3.   Furthermore, if the Court grants the motion to compel, it must necessarily issue a

stay if a party applies for one. Smith v. Spizzeri, 601 U.S. 472, 476-77 (2024). “§ 3 [of the FAA]

ensures that the parties can return to federal court if arbitration breaks down or fails to resolve the

dispute. That return ticket is not available if the court dismisses the suit rather than stays it.”



                                                  3
          Case 1:24-cv-01701-ACR           Document 58           Filed 05/19/25   Page 4 of 7




(Emphasis added.) Id., 477.

          4.     As a fundamental matter, arbitration is not an efficient option at this juncture. The

process could take up to six months (if not more). That is too long given that we are a hair’s

breadth from a settlement. The Court could more practically handle the matter of attorney’s fees

in a fraction of the time it would take to arbitrate the case.

          5.     Given press reports flying that the parties have settled, although intervenor has not

received notice, he believes that motion with respect to a charging lien against the settlement

recovery should be renewed. Intervenor will present points and authorities in support of his request

for such lien. See, Intervenor’s Notice of Supplemental Authorities, doc# 57.

United States of America

          The United States’s interest is to finalize the settlement between the Parties to resolve this

case with reasonable promptness and to ensure the sound administration of the Federal Tort

Claims Act and the public fisc.

          On May 12, 2025, this Court granted Mr. Roberts’ motion to intervene “for the limited

purpose of being kept aware of ongoing settlement discussions between the [P]arties,” and

ordered the Parties to “notify Mr. Roberts’ within 24 hours of any settlement agreement being

reached.” May 12, 2025, Minute Order. The Court also dismissed Mr. Roberts’ complaint for a

temporary restraining order and injunctive relief and refused to issue a charging lien against any

settlement funds. Id. The Court ordered the parties to address through this filing “whether they

have agreed on a set-aside amount” from settlement funds while Mr. Roberts’ fee dispute is

resolved through the Attorney Client Arbitration Board. Id. Plaintiffs commit to that in this

filing.




                                                    4
       Case 1:24-cv-01701-ACR           Document 58        Filed 05/19/25      Page 5 of 7




       The United States believes that Plaintiffs’ agreement to set aside 25% of the total

settlement amount in an IOLTA pending the D.C. Bar’s Attorney Client Arbitration Board’s

(ACAB) resolution of Mr. Roberts’ fee demand is sufficient to protect Mr. Roberts’ interests.

Additionally, Plaintiffs’ current attorneys’ reassurance that they will abide by ACAB’s decision

and disperse to Mr. Roberts that portion of the set-aside funds that ACAB determines Mr.

Roberts is owed, if any, should eliminate Mr. Roberts’ concern regarding his ability to collect

fees to which he is entitled.

       In email correspondence on May 19, 2025, Mr. Roberts indicated his general agreement

to Plaintiffs setting aside and depositing into Plaintiffs’ counsels’ D.C. IOLTA an amount equal

to 25% of the gross amount of settlement funds pending the resolution of Mr. Roberts’ claim for

attorney’s fees provided he receives additional relief, which the United States opposes.

Specifically, he opposes ACAB arbitration and wants to ask this Court to “give the matter

preference and decide the issue in a fraction of the time arbitration would take.” That request

goes well beyond the limited intervention the Court permitted. Mr. Roberts presents no

justification for why the Court should reconsider these issues.

       Mr. Roberts also states that should Plaintiffs file a motion to compel arbitration, he will

ask this Court to stay this FTCA suit under the Federal Arbitration Act, 9 U.S.C. § 3, until the fee

dispute is resolved. The United States opposes such relief should it be sought. Such relief is

unnecessary and would be incompatible with the Court’s May 12 ruling and with the government

interests described above.



May 19, 2025                                  Respectfully submitted,

                                              /s/ Robert Patrick Sticht
                                              ROBERT PATRICK STICHT

                                                 5
Case 1:24-cv-01701-ACR   Document 58      Filed 05/19/25      Page 6 of 7




                             CA Bar No. 138586
                             JUDICIAL WATCH, INC.
                             425 Third Street SW, Suite 800
                             Washington, D.C. 20024
                             Telephone: (202) 646-5172
                             Fax: (202) 646-5199
                             Email: rsticht@judicialwatch.org

                             Counsel for Plaintiffs

                             /s/ Richard W. Driscoll
                             RICHARD W. DRISCOLL*
                             D.C. Bar No. 436471
                             Driscoll & Seltzer, PLLC
                             2000 Duke Street, Suite 300
                             Alexandria, VA 22314
                             Office: 703.879.2601
                             Facsimile: 703.997.4892
                             Rdriscoll@driscollseltzer.com

                             Counsel for Plaintiffs by Special Appearance

                             *Counsel’s representation is by Special Appearance
                             only for the purpose of representing the Plaintiffs in
                             connection with the Motion to Intervene

                            YAAKOV M. ROTH
                            Acting Assistant Attorney General, Civil Division

                             C. SALVATORE D’ALESSIO, JR.
                             Director, Torts Branch, Civil Division

                            RICHARD MONTAGUE
                            Senior Trial Counsel

                             /s/ Sarah E. Whitman
                             SARAH E. WHITMAN
                             MA Bar No. 657726
                             Senior Trial Counsel, Torts Branch, Civil Division
                             United States Department of Justice
                             175 N Street, NE
                             Washington, DC 20002
                             Tel: (202) 616-0089; F: (202) 616-4314
                             Email: sarah.whitman@usdoj.gov




                                6
Case 1:24-cv-01701-ACR   Document 58     Filed 05/19/25      Page 7 of 7




                             /s/ Brian J. Boyd
                             BRIAN J. BOYD
                             NY Bar No. 5562582
                             Trial Attorney, Torts Branch, Civil Division
                             United States Department of Justice
                             175 N Street, NE
                             Washington, DC 20002
                             Tel: (202) 616-4142; F: (202) 616-4314
                             Email: Brian.J.Boyd@usdoj.gov

                             /s/ Joseph A. Gonzalez
                             JOSEPH A. GONZALEZ
                             D.C. Bar No. 995057
                             Trial Attorney, Torts Branch, Civil Division
                             United States Department of Justice
                             175 N Street, NE
                             Washington, DC 20002
                             Tel: (202) 598-3888; F: (202) 616-4314
                             Joseph.a.gonzalez@usdoj.gov
                             Counsel for Defendant United States of America

                             /s/ Terrell N. Roberts, III
                             TERRELL N. ROBERTS, III
                             Bar ID No. 965061
                             6801 Kenilworth Avenue, Suite 202
                             Riverdale, Maryland 20737
                             (301) 699-0764
                             (301) 699-8706 Fax
                             TRoberts@robertsandwood.com

                             Limited Intervenor




                                7
